Case: 1:18-cv-01869 Document #: 279 Filed: 08/19/19 Page 1 of 1 PageID #:2089

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                               Eastern Division

Michelle Parkinson
                                             Plaintiff,
v.                                                          Case No.: 1:18−cv−01869
                                                            Honorable Edmond E. Chang
PNC Bank, National Association, et al.
                                             Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, August 19, 2019:


        MINUTE entry before the Honorable Edmond E. Chang: Motions [274] and [277]
are denied because (1) they were filed without a proper three−day presentment period
under the Court's Case Management Procedure; and (2) are premised on the frivolous
notion that if a judge does not have an in−court sitting available on a particular date, then
the judge is somehow disabled from issuing orders on that date. Emailed notice(Chang,
Edmond)




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
